Case 20-10846 Doc 1582 Filed 06/10/22 Entered 06/10/22 14:51:22 Main Document Page 1 of
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                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA

          In re:                                  )
                                                  )        Case No. 20-10846
          THE ROMAN CATHOLIC                      )
          CHURCH OF THE                           )        Section “A”
          ARCHDIOCESE OF NEW                      )
          ORLEANS                                 )        Chapter 11
                   Debtor.                        )


                         NOTICE OF EMERGENCY APPEAL ON BEHALF OF
                                     RICHARD TRAHANT

                                         [Relates to Rec. Doc. 1574]

               NOW COMES Richard C. Trahant who files this Notice of Emergency Appeal Pursuant

     to Federal Rule of Bankruptcy Procedure 8001 & 8002.

     1.        Trahant hereby appeals the Bankruptcy Court’s June 7, 2022, Order [Rec. Doc.

               1574].

     2.        The names of all parties to the Order appealed from and the names, addresses and

               telephone numbers of their respective attorneys are as follows:

          The Official Committee of Unsecured
          Creditors                                       James I. Stang
          Omer F. Kuebel, III                             Linda F. Cantor
          Brad Knapp                                      Pachulski Stang Ziehl & Jones LLP 10100
          Locke Lord LLP                                  Santa Monica Blvd., Suite 1300 Los
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Case 20-10846 Doc 1582 Filed 06/10/22 Entered 06/10/22 14:51:22 Main Document Page 2 of
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      The Roman Catholic Church of the         The Apostolates
      Archdiocese of New Orleans
                                               Douglas S. Draper
      R. Patrick Vance                         Leslie A. Collins
      Elizabeth J. Futrell                     Michael E. Landis
      Mark A. Mintz                            Heller, Draper & Horn, L.L.C.
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      Office of the U.S. Trustee               Hancock Whitney Bank

      AMANDA BURNETTE GEORGE                   David F. Waguespack
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      Attorney for abuse claimants             Attorney for abuse claimants

      Soren E. Gisleson                        John H. Denenea, Jr.
      Joseph E. “Jed” Cain                     Shearman~Denenea, L.L.C.
      Herman, Herman & Katz, L.L.C.            4240 Canal Street
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Case 20-10846 Doc 1582 Filed 06/10/22 Entered 06/10/22 14:51:22 Main Document Page 3 of
                                            3




   3.      Trahant elects to have the appeal heard by the United States District Court.

           WHEREFORE Trahant respectfully requests that the appeal and its record be designated

   and transmitted before the District Court.

           Dated: June 10, 2022.
                                                   Richard C. Trahant_______________
                                                   RICHARD C. TRAHANT (# 22653)
                                                   ATTORNEY AT LAW
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                                                                                                          -
                                                   -And-

                                                   PAUL M. STERBCOW (#17817)
                                                   Lewis, Kullman, Sterbcow & Abramson
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                                                   New Orleans, Louisiana 70130
                                                   (504) 588-1500 Telephone
                                                   (504) 588-1514 Facsimile
                                                   sterbcow@lksalaw.com

                                     CERTIFICATE OF SERVICE

           I hereby caused a copy of the foregoing Notice of Appeal to be served on June 10, 2022

   upon all parties by electronic case filing for those parties receiving notice via the Court’s Electronic

   Case Filing system, and on all other parties requiring service under the Court’s Ex Parte Order

   Authorizing the Debtor to Limit Notice and Establishing Notice Procedures through the Master

   Service List via first-class United States mail, postage prepaid, to be sent on June 10, 2022.

                                                           S/Richard C. Trahant




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